                2:09-cr-00806-DCN       Date Filed 08/16/22     Entry Number 143        Page 1 of 4

✎Prob 12C
 (Rev. 10/20 - D/SC)

                                 United States District Court
                                                        for

                                           District of South Carolina


                  Petition for Warrant or Summons for Offender Under Supervision


Name of Offender: Darrell Oneal Royal                         Case Number: 2:09CR00806-001

Name of Sentencing Judicial Officer: The Honorable Patrick Michael Duffy, Senior United States District
Judge
Name of Current Judicial Officer: The Honorable David C. Norton, United States District Judge

Date of Original Sentence: November 02, 2011

Original Offense: Count 1: Possession with Intent to Distribute Heroin in violation of 21 U.S.C. §§ 841(a)(1),
841(b)(1)(C) and 851. Count 2: Possession with Intent to Distribute Cocaine in violation of 21 U.S.C.
§§841(a)(1), 841(b)(1)(C) and 851.

Original Sentence: The defendant was committed to the custody of the Bureau of Prisons for 144 months
followed by 72 months supervised release. The following special conditions were ordered: 1) The defendant
shall participate in a program of testing and treatment for substance abuse as approved by the US Probation
Officer until such time as he is released from the program by the probation officer. 2) The defendant shall
participate in a program of mental health counseling as approved by the US Probation Officer until such time as
he is released from the program by the probation officer.

Type of Supervision: Supervised Release               Date Supervision Commenced: March 16, 2021

Assistant U.S. Attorney: Sean Kittrell                Defense Attorney: Mary Gordon Baker

Previous Court Action/Notifications: On April 29, 2020, the case was reassigned to the Honorable David C.
Norton, United States District Judge.


                                         PETITIONING THE COURT


          To issue a warrant (petition and warrant to remain under seal)

          To issue a summons

The probation officer believes that the offender has violated the following condition(s) of supervision:

   Violation Number                                  Nature of Noncompliance
                2:09-cr-00806-DCN      Date Filed 08/16/22      Entry Number 143         Page 2 of 4

✎Prob 12C                                                                                           Page 2
 (Rev. 10/20 - D/SC)
              1.         New Criminal Conduct: On August 13, 2022, the defendant was arrested by
                         Berkely County Sheriff’s Office for Domestic Violence-3rd Degree. The defendant
                         received a $30,000 surety bond, which as of the date of this petition had not been
                         posted. This charge remains pending in Berkeley County General Sessions Court.

                         According to a Berkeley County Sheriff’s Office Incident report, Corporal Drayton
                         responded to Your Signature Hall and Events at 359 Treeland Drive in the Ladson
                         area of Berkeley County in reference to a 9-1-1 hang-up. Upon arrival, the deputy
                         was flagged down by the victim, Zonya Raynea Deveaux. Ms. Deveaux reported
                         that she needed assistance getting Darrell Oneal Royall out of her vehicle. The
                         victim was located in the driver’s seat of the vehicle and Mr. Royall was located
                         in the passenger seat. Ms. Deveaux reported that she believed that the defendant
                         had too much to drink, and she wanted him to go home. Mr. Royall reported that
                         he and Ms. Deveaux were married.

                         Corporal Drayton attempted to speak with the defendant and asked him to exit the
                         vehicle, but he ignored her presence. Corporal Drayton continued to try to verbally
                         engage Mr. Royall and ask him to leave. He continued to ignore the deputy and
                         she requested additional officers to respond to the scene in reference to the
                         defendant not cooperating. At one point, Mr. Royall stated “I ain’t did nothing”
                         but still did not exit the vehicle.

                         A third party walked up to the vehicle and the deputy asked for her help in securing
                         a ride for Mr. Royall in an attempt to separate both parties. Ms. Deveaux stated
                         that if the defendant exited her vehicle that she would call an uber for him. At that
                         time, he exited the vehicle and began to walk towards the back of the vehicle.
                         Corporal Drayton turned her attention to see if Ms. Deveaux needed anything else
                         and to understand why they were in a disturbance.

                         At that point, the defendant began approaching Ms. Deveaux and began to become
                         verbal with her. Corporal Drayton attempted to ask him to stop arguing with her,
                         but Mr. Royall continued. Without warning and unprovoked, the defendant than
                         began assaulting Ms. Deveaux in the presence of the officer. Mr. Royall jumped
                         on top of Ms. Deveaux while she was sitting in the car and began striking her
                         several times in her face and head.

                         The deputy gave loud verbal commands to stop assaulting Ms. Deveaux but he
                         continued. At that time, Corporal Drayton drew her county issued taser and
                         instructed him to stop or she would tase him, but he still continued the assault. She
                         then deployed her taser in an attempt to stop the assault. The defendant stopped
                         briefly but was still inside of the vehicle on top of Ms. Deveaux. Mr. Royall was
                         instructed several more times to get off of Ms. Deveaux and to get on the ground.
                         Once assisting deputies arrived on scene, the defendant was placed in handcuffs.
                         Deputies mirandized him and attempted to speak to him, but he remained
                         uncooperative and did not acknowledge his rights. Corporal Drayton requested
                         EMS to the scene for the taser deployment and to check out Ms. Deveaux for the
                         assault.

                         The defendant was placed under arrest for Domestic Violence 3rd and
                         transported to the Berkeley County Detention Center.
                2:09-cr-00806-DCN        Date Filed 08/16/22      Entry Number 143         Page 3 of 4

✎Prob 12C                                                                                           Page 3
 (Rev. 10/20 - D/SC)




                       I declare under penalty of perjury that the foregoing is true and correct.

                                                Executed on    August 15, 2022



                                                               Adam P. Davis
                                                               U.S. Probation Officer
                                                               Charleston Office

Reviewed and Approved By:



Katrina Robinson-Curtis
Supervising U.S. Probation Officer
                2:09-cr-00806-DCN         Date Filed 08/16/22     Entry Number 143    Page 4 of 4

✎Prob 12C                                                                                      Page 4
 (Rev. 10/20 - D/SC)




THE COURT ORDERS:

            No action.

 X           The issuance of a warrant.
       X     The Petition and Warrant shall remain under seal until served by the United States Marshal
             Service.

            The issuance of a summons.




                                            BOND CONSIDERATION:

 X         Bond to be set at the discretion of the United States Magistrate Judge.

          No bond to be set.

          Other (specify):




                                                       David C. Norton
                                                       United States District Judge


                                                       August 16, 2022
                                                                     Date
